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                                UNITED STATES DISTRICT COURT                         APR 142016
                                EASTERN DISTRICT OF MISSOURI                    u.S. DISTRICT COURT
                                      EASTERN DIVISION                        EASTERN DISTRICT OF MO
                                                                                      ST. LOUIS
. UNITED STATES OF AMERICA,                      )
                                                 )
                         Plaintiff,              )
                                                 )       No.:    S3- 4:15 CR404 HEA (NAB)
             v.                                  )
                                                 )
 ISAIAH LOVE,                                    )
 alk/a "Skeet,"                                  )
                                                 )
                          Defendant.             )

                   MOTION FOR PRETRIAL DETENTION AND HEARING

        COMES NOW the United States of America, by and through its attorneys, Richard G.

 Callahan, United States Attorney for the Eastern District of Missouri, and Michael A. Reilly,

 Assistant United States Attorney for said District, and moves the Court to order defendant.

 detained pending trial, and further requests that a detention hearing be held three (3) days from.

 the date of defendant's initial appearance before the United States Magistrate pursuant to· Title

 18, United States Code, Section 3141, et seq.

        As and for its grounds, the Government states as follows:

        1.        There is a serious risk that the defendant will flee;

        2.        The defendant is charged with an offense for which a mandatory minimum of ten

                  years incarceration and a maximum term of life imprisonment is prescribed under

                  Title 21 (Controlled Substance Act).

        3.        Defendant is a danger to the community.
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        WHEREFORE, the Government requests this Court to order defendant detained prior to

trial, and further to order a detention hearing three (3) days from the date of the defendant's initial

appearance.

                                               Respectfully submitted,

                                               RICHARD G. CALLAHAN
                                               United St~ttorney
                                            ~UC.J
                                               MICHAEL A. REILLY, #4390
                                               Assistant United States Attorney
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                                               st. Louis, Missouri 63102
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